        Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                                   Exhibit B Page 1 of 37


&9)*#*5#
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 2 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 3 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 4 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 5 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 6 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 7 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 8 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                           Exhibit B Page 9 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 10 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 11 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 12 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 13 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 14 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 15 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 16 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 17 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 18 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 19 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 20 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 21 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 22 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 23 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 24 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 25 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 26 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 27 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 28 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 29 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 30 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 31 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 32 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 33 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 34 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 35 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 36 of 37
Case 17-34182-SLM   Doc 31-3 Filed 11/06/19 Entered 11/06/19 14:34:18   Desc
                          Exhibit B Page 37 of 37
